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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

In re:                                                             )   Chapter 11
                                                                   )
CENTER CITY HEALTHCARE, LLC d/b/a                                  )   Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et                                  )
al.,1                                                              )   Jointly Administered
                                                                   )
                                        Debtors.                   )   Related to Docket Nos. 4915 and 4943


                ORDER APPROVING STIPULATION BETWEEN DEBTORS AND
             JOELLE LEONE AND MICHAEL WINN REGARDING ALLOWED CLAIM

               Upon consideration of the Stipulation between Debtors and Joelle Leone and Michael

  Winn Regarding Allowed Claim (the “Stipulation”)2 attached hereto as Exhibit “1”; and the Court

  having jurisdiction over the matters raised in the Stipulation pursuant to 28 U.S.C. §§ 157 and

  1334; and consideration of the Stipulation and the relief requested therein being a core proceeding

  pursuant to 28 U.S.C. § 157(b)(2); and venue being proper before this Court pursuant to 28 U.S.C.

  §§ 1408 and 1409; and due and proper notice of the Stipulation having been provided, and it

  appearing that no other or further notice need be provided; and the Court having found and

  determined that the relief sought in the Stipulation is in the best interests of the Debtors, their

  estates, creditors and all parties-in-interest, and that the legal and factual bases set forth in the

  Stipulation establish just cause for the relief granted herein; and after due deliberation and

  sufficient cause appearing therefor, it is HEREBY ORDERED THAT:



  1
               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
               are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
               L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
               L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
               L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
               IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 N. Broad
               Street, 4th Floor, Philadelphia, Pennsylvania 19102.
  2
               Capitalized terms not otherwise defined herein shall have the same meanings ascribed to them in the
               Stipulation.

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             1.          The Stipulation is approved.

             2.          On account of, and in full satisfaction of, the Asserted Claim, Claim 722 shall be

an allowed claim against CCH in the total amount of $32,000.00, of which $30,593.27 shall be an

allowed general unsecured claim and $1,406.73 shall be an allowed priority claim (the “Allowed

Claim”).

             3.          Other than the Allowed Claim, the Claimants shall have no other allowed claims

against any of the Debtors, whether filed or scheduled, including, but not limited to, claims relating

to any causes of action alleged in the Asserted Claim or the Action. The Claimants shall not be

entitled to any distributions from any of the Debtors, their estates or any of the Debtors’ successors,

other than on account of the Allowed Claim. The Claimants shall not amend any previously filed

claims and shall not assert any additional claims against any of the Debtors on account of pre-

petition or post-petition periods.

             4.          Within five (5) business days after the Stipulation Effective Date, the Claimants

shall dismiss the Action (including the Arbitration Proceeding), with prejudice and without costs.

             5.          The Debtors and their claims agent are authorized to take any and all actions

necessary to effectuate the Stipulation.

             6.          This Court shall retain jurisdiction over any and all matters arising from or related

to the implementation of this Order or the Stipulation.

             7.          This Order is effective immediately upon entry.




Dated: November 2nd, 2023                                      MARY F. WALRATH
Wilmington, Delaware                                           UNITED STATES BANKRUPTCY JUDGE

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